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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                  PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                    Case # 5:15cr31-002


STEVEN ANTHONY HULL                                     USM # 23556-017

                                                        Defendant’s Attorney:
                                                        Maria L. Dykes (Appointed)
                                                        1041 Jenks Avenue
                                                        Panama City, Florida 32401
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts 1, 2, 3, 4, and 5 of the indictment February 11, 2016.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:




         TITLE/SECTION                     NATURE OF                  DATE OFFENSE          COUNT
            NUMBER                          OFFENSE                    CONCLUDED



 21 U.S.C. §§ 841(a),              Conspiracy to Distribute and         July 1, 2015           1
 841(b)(1)(A)(viii) and 846        Possess with Intent to
                                   Distribute 50 Grams or more of
                                   Methamphetamine and 500
                                   Grams or more of a mixture
                                   and substance containing
                                   Methamphetamine
 21 U.S.C. §§ 841(a)(1),           Distribution of a Controlled        March 9, 2015           2
 841(b)(1)(B)(viii) and 18         Substance, five (5) Grams or
 U.S.C. § 2                        more of Methamphetamine
                                   and Aiding and Abetting
 21 U.S.C. §§ 841(a)(1),           Distribution of a Controlled        March 17, 2015          3
 841(b)(1)(B)(viii) and 18         Substance, five (5) Grams or
 U.S.C. § 2                        more of Methamphetamine
                                   and Aiding and Abetting
 21 U.S.C. §§ 841(a)(1),           Distribution of a Controlled        April 20, 2015          4
 841(b)(1)(C) and 18 U.S.C. § 2    Substance, Methamphetamine
                                   and Aiding and Abetting




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 21 U.S.C. §§ 841(a)(1),       Distribution of a Controlled       May 5, 2015          5
 841(b)(1)(B)(viii) and 18     Substance, five (5) Grams or
 U.S.C. § 2                    more of Methamphetamine
                               and Aiding and Abetting



The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.



                                     Date of Imposition of Sentence:
                                     September 6, 2016

                                     s/Robert L. Hinkle
                                     United States District Judge
                                     September 16, 2016




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                                   IMPRISONMENT


      The defendant is hereby committed to the custody of the United States
Bureau of Prisons to be imprisoned for a term of 72 months on Counts 1, 2, 3, 4,
and 5, to run concurrently.

         The Court recommends to the Bureau of Prisons in order of priority:

            1. The defendant should participate in a residential
         drug-abuse program and in cognitive behavioral therapy.

            2. The defendant should be designated to a facility as
         near as possible to Panama City, Florida.

         The defendant is remanded to the United States Marshal.


                                      RETURN

I have executed this judgment as follows:
____________________________________________________________________________

____________________________________________________________________________

____________________________________________________________________________


Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this

judgment.

                                 __________________________________
                                 UNITED STATES MARSHAL


                                 By:__________________________________
                                       Deputy U.S. Marshal




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                                     SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a
term of 5 years on Count 1, 4 years on Counts 2, 3, and 5, and 3 years on Count 4, all to
run concurrently.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

      The defendant shall not commit another federal, state, or local crime and shall not
possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
as determined by the court.

           The defendant shall cooperate in the collection of DNA as directed by the probation
officer.



                         STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1. The defendant shall not leave the judicial district without the permission of the court or
probation officer;

2. The defendant shall report to the probation officer and shall submit a truthful and complete
written report within the first five days of each month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the
instructions of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation
officer for schooling, training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least 10 days prior to any change in
residence or employment;

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
use, distribute, or administer any controlled substance or any paraphernalia related to any
controlled substances, except as prescribed by a physician;




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8. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not
associate with any person convicted of a felony unless granted permission to do so by the
probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or
elsewhere and shall permit confiscation of any contraband observed in plain view of the
probation officer;

11. The defendant shall notify the probation officer within 72 hours of being arrested or
questioned by a law enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of
a law enforcement agency without the permission of the court; and

13. As directed by the probation officer, the defendant shall notify third parties of risks that may
be occasioned by the defendant’s criminal record or personal history or characteristics and shall
permit the probation officer to make such notifications and to confirm the defendant’s
compliance with such notification requirement.

14. If this judgment imposes a fine or a restitution obligation, it shall be a condition of
supervision that the defendant pay any such fine or restitution in accordance with the Schedule
of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.




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                    ADDITIONAL CONDITIONS OF SUPERVISED RELEASE


       The defendant shall also comply with the following additional conditions of supervised
release:



                    1. The defendant must report to the probation office in person
              within 72 hours after the defendant is released from custody. The office
              must be in the Northern District of Florida or the district where the
              defendant is released from custody.

                   2. The defendant must not own or possess a firearm, dangerous
              weapon, or destructive device.

                     3. The defendant must submit to testing to determine whether he
              is using drugs or alcohol.

                    4. The defendant must successfully participate in substance-abuse
              treatment consisting of an initial evaluation—by a probation officer or
              outside provider—and any further appropriate treatment. The treatment
              may include cognitive behavioral therapy.

                    5. The defendant must participate in a program of mental-health
              treatment [and must take any prescribed medication].

                    6. The defendant must provide the probation officer all requested
              financial information, business or personal.




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Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.


__________________________________                                 ______________
Defendant                                                          Date




___________________________________                                ______________
U.S. Probation Officer/Designated Witness                          Date




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                               CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).


                 SPECIAL                                   FINE                 RESTITUTION
           MONETARY ASESSEMENT
                  $500.00                                   -0-                        -0-


                            SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $500.00 is imposed.

No fine imposed.




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                                    SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties

Payment of the total fine and other criminal monetary penalties shall be due as follows:

in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.

The defendant shall forfeit the defendant’s interest in the following property to the United States:




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